                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           NO. 3:13-00097
                                               )           JUDGE SHARP
ANTHONY LEE COLLINS [14]                       )


                                          ORDER

        Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket No.

512).

        The motion is GRANTED and the hearing is hereby scheduled for Monday, June 23, 2014,

at 2:00 p.m.

        It is so ORDERED.




                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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